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9                                 UNITED STATES DISTRICT COURT
10                             NORTHERN DISTRICT OF CALIFORNIA
11                                    SAN FRANCISCO DIVISION
12
     UNITED STATES OF AMERICA,                    )       No. CR 05-00568 VRW
13                                                )
            Plaintiff,                            )
14                                                )       STIPULATION AND [PROPOSED]
       v.                                         )       ORDER CONTINUING CHANGE OF
15                                                )       PLEA HEARING FROM SEPTEMBER 5,
     FRANK TYRAN CLARK, et al.                    )       2006 TO OCTOBER 17, 2006 AND
16                                                )       EXCLUDING TIME UNDER THE
           Defendants.                            )       SPEEDY TRIAL ACT
17   _________________________________            )
18
19
20          The parties appeared before the Court on May 30, 2006 for a status hearing and trial
21   setting. At that time, with the consent of the parties, the Court excluded the period from May 30,
22   2006 to September 5, 2006 from the Speedy Trial Act on the grounds of effective preparation and
23   continuity of counsel. The Court scheduled trial to begin on September 5, 2006.
24          On August 1, 2006, the parties appeared to inform the Court that the Defendants had both
25   agreed to plead guilty. The Court accordingly changed the September 5, 2006 trial date to a
26   change of plea hearing.
27          Due to unforeseen circumstances relating to government counsel’s childcare situation,
28   counsel for the government will not be available on the morning of September 5. The parties are

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     STIP. & [PROP.] ORDER CONT’G PLEA                1
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1    in the process of finalizing plea agreements, a task made difficult by scheduling conflicts with
2    both defendants’ counsel.
3           The parties therefore stipulate and request the Court to continue the change of plea date
4    from September 5, 2006 to October 17, 2006, the next Tuesday on which all counsel and the
5    Court are available. Given the need to negotiate final plea agreements and the trial schedule of
6    counsel for defendant Larry McGee, the parties stipulate that the time from September 5, 2006 to
7    October 17, 2006 is properly excludable for effective preparation and continuity of counsel.
8
            IT IS SO STIPULATED.
9
10   DATED: ________________________                      _________/s/_______________________
                                                          TRACIE L. BROWN
11                                                        Assistant United States Attorney
12
13   DATED: _____________________                         __/s/______________________________
                                                          GERI LYNN GREEN
14                                                        Attorney for Frank Tyran Clark
15
16
17   DATED: _____________________                         __/s/______________________________
                                                          JAMES GILLER
18                                                        Attorney for Larry McGee
19          IT IS SO ORDERED. The change of plea hearing will be continued September 5, 2006
20   to October 17, 2006 at 10:30 a.m. For the reasons set forth above, the time is excludable from
21   the Speedy Trial Act on the grounds of effective preparation and continuity of counsel.
22
23
24
                08/24/06
     DATED:_____________________                          ________________________________
25                                                        THE HON. VAUGHN R. WALKER
                                                          United States Chief District Judge
26
27
28

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